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The following constitutes the ruling of the court and has the force and effect therein described.


Signed December 10, 2018
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________




                        IN THE UNITED STATES BANKRUPTCY COURT
                                  NORTHER DISTRICT OF TEXAS
                                       FORT WORTH DIVISION
IN RE:
Dr. Shabnam Qasim, MD, PA


Debtor                                            §              Case No. 18-43088-mxm
                                                                 (Chapter 11)
                                                  §
                                                  §
                                                  §


ORDER GRANTING THE MOTION FOR PAYMENT OF COMPENSATION REQUEST FILED
           ON NOVEMBER 06, 2018 BY PATIENT CARE OMBUDSMAN




THIS MATTER CAME BEFORE THE COURT OF THE HONRABLE JUDGE MARK X.
MULLIN UPON THE MOTION TO HAVE THE DEBTOR, DR. SHABNAM QASIM, MD, PA
PAY COMPENSATION FOR THE SERVICES OF THE PATIENT CARE OMBUDSMAN FOR
SERVICES RENDERED FROM AUGUST 31, 2018 TO NOVEMBER 06, 2018.
THE TOTAL AMOUNT OF CURRENT COMPENSATION DUE IS $ 2,362.50, WHICH CONSIST
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OF EXPENSE $ 126.60 AND FEES OF $2,235.90


     THE COURT, BEING FULLY ADVISED DOES:
     ORDER ADJUDGE AND DECREE THAT THE MOTION BE, AND IT IS, GRANTED,
AND THAT DEBTOR IMMEDIATELY MAKE COMPENSATION TO THE PATIENT CARE
OMBUDSMAN.


                              ***END OF ORDER***
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                                               United States Bankruptcy Court
                                                Northern District of Texas
In re:                                                                                                     Case No. 18-43088-mxm
Dr. Shabnam Qasim MD PA                                                                                    Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0539-4                  User: skerr                        Page 1 of 1                          Date Rcvd: Dec 10, 2018
                                      Form ID: pdf012                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 12, 2018.
aty            +Craig D. Davis,   Davis, Ermis & Roberts, P.C.,   1010 N. Center, Suite 100,
                 Arlington, TX 76011-8411

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 12, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 10, 2018 at the address(es) listed below:
              Brandon J. Tittle    on behalf of Creditor    Privia Medical Group-North Texas
               brandon.tittle@bondsellis.com
              Craig Douglas Davis    on behalf of Debtor    Dr. Shabnam Qasim MD PA
               davisdavisandroberts@yahoo.com, der.notices@yahoo.com
              Eboney D. Cobb    on behalf of Creditor    Castleberry ISD ecobb@pbfcm.com,
               ecobb@pbfcm.com;ecobb@ecf.inforuptcy.com
              J. Casey Roy   on behalf of Interested Party     Texas Medical Board casey.roy@oag.texas.gov
              Laurie A. Spindler    on behalf of Creditor    Tarrant County Laurie.Spindler@lgbs.com,
               Dora.Casiano-Perez@lgbs.com
              United States Trustee    ustpregion06.da.ecf@usdoj.gov
                                                                                              TOTAL: 6
